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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:25-cv-22896-JEM



  FRIENDS OF THE EVERGLADES, INC., a Florida
  not-for-profit corporation, and CENTER FOR
  BIOLOGICAL DIVERSITY, a 501(c)(3) nonprofit
  organization,

                 Plaintiffs,

  vs.

  KRISTI NOEM, in her official capacity as Secretary
  of the UNITED STATES DEPARTMENT OF
  HOMELAND SECURITY; TODD LYONS, in his
  official capacity as Acting Director of the UNITED
  STATES IMMIGRATION AND CUSTOMS
  ENFORCEMENT; KEVIN GUTHRIE, in his official
  capacity as Executive Director of the Florida Division
  of Emergency Management; and MIAMI-DADE
  COUNTY, a political subdivision of the State of
  Florida,

                 Defendants.


                           PLAINTIFFS’ NOTICE OF FILING
                    DEFENDANT KRISTI NOEM’S SOCIAL MEDIA POST

         This Notice is filed in support Plaintiffs’ Expedited Motion for a Temporary Restraining

  Order and Preliminary Injunction (D.E. 5), and relates to the Federal Defendants’ Opposition to

  Plaintiffs’ Motion (D.E. 21), wherein the Federal Defendants state: “DHS has not … funded

  Florida's temporary detention center. Florida is constructing and operating the facility using state

  funds….” (Id. at 1.) In the social media post attached as Exhibit 1, Defendant Noem states: “[The

  detention center] will be funded largely by FEMA’s Shelter and Services Program….”

  Dated: July 7, 2025
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  Respectfully submitted,

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  Counsel for Center for Biological Diversity


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 7, 2025, I electronically filed the foregoing with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record on the Service List below via transmission of Notice of Electronic

  Filing generated by CM/ECF.



                                                         s/ Paul J. Schwiep




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                                           capacity as Secretary, United States
                                           Department of Homeland Security, and Todd
                                           Lyons, in his official capacity as Acting
                                           Director, United States Immigration and
                                           Customs Enforcement




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